        Case 23-18880-ABA                    Doc 11        Filed 11/03/23 Entered 11/03/23 14:26:06                             Desc Main
                                                          Document      Page 1 of 31




Fill in this information to identify the case:

Debtor name         Evesham Mortgage, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)    23-18880
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 3, 2023                X /s/ Richard Brown
                                                           Signature of individual signing on behalf of debtor

                                                            Richard Brown
                                                            Printed name

                                                            Manager / Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 23-18880-ABA                                     Doc 11              Filed 11/03/23 Entered 11/03/23 14:26:06                                                          Desc Main
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 Fill in this information to identify the case:

 Debtor name            Evesham Mortgage, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)               23-18880
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,911,580.40

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,911,580.40


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           379,426.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           300,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,237,276.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,916,702.83




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-18880-ABA                 Doc 11        Filed 11/03/23 Entered 11/03/23 14:26:06                                    Desc Main
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Fill in this information to identify the case:

Debtor name         Evesham Mortgage, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)       23-18880
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Fulton Bank                                       Checking                              9038                                       $382.08




          3.2.     Fulton Bank                                       Checking                              8655                                       $127.45




          3.3.     Fulton Bank                                       Checking                              3028                                    $69,881.66




          3.4.     Wells Fargo Advisors                              Standard Brokerage                    3769                                  $800,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $870,391.19
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           Evesham Mortgage, LLC                                                  Case number (If known) 23-18880
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Security Deposit - Non-Residential Lease (Renaissance Shoppes Urban Renewal)                                     $23,189.21



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                      $23,189.21
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                           Net book value of         Valuation method used   Current value of
                                                                        debtor's interest         for current value       debtor's interest
                                                                        (Where available)

39.       Office furniture
          Desks, chairs, cabinets, misc. office furniture                       $10,000.00        Replacement                       $10,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, computer accessories, TVs                                    $8,000.00       Replacement                        $8,000.00

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor        Evesham Mortgage, LLC                                                          Case number (If known) 23-18880
              Name




42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                              $18,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of            Nature and              Net book value of           Valuation method used    Current value of
           property                               extent of               debtor's interest           for current value        debtor's interest
           Include street address or other        debtor's interest       (Where available)
           description such as Assessor           in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 103 E Rte 70
                    Suite 2
                    Marlton, NJ 08053             Office Lease                             $0.00                                                   $0.00




56.        Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                              page 3
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Debtor        Evesham Mortgage, LLC                                                        Case number (If known) 23-18880
              Name


      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           ERC Monies Due                                                                    Tax year 2021                          $1,000,000.00



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                     $1,000,000.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor          Evesham Mortgage, LLC                                                                               Case number (If known) 23-18880
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $870,391.19

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $23,189.21

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $18,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,000,000.00

91. Total. Add lines 80 through 90 for each column                                                         $1,911,580.40            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,911,580.40




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
          Case 23-18880-ABA                        Doc 11         Filed 11/03/23 Entered 11/03/23 14:26:06                                 Desc Main
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Fill in this information to identify the case:

Debtor name         Evesham Mortgage, LLC

United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY

Case number (if known)             23-18880
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   First Bank NJ                                Describe debtor's property that is subject to a lien                 $379,426.00                  Unknown
      Creditor's Name                              Working line of credit
      1395 Yardville-Hamilton
      Square Rd.
      Trenton, NJ 08691
      Creditor's mailing address                   Describe the lien
                                                   All assets
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      6/26/2013                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1630
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Navitas Credit Corp.                         Describe debtor's property that is subject to a lien                          $0.00               Unknown
      Creditor's Name                              Copier/MFP
      203 Fort Wade Road
      Suite 300
      Ponte Vedra, FL 32081
      Creditor's mailing address                   Describe the lien
                                                   Equipment finance
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      Evesham Mortgage, LLC                                                              Case number (if known)         23-18880
            Name

          No                                       Contingent
          Yes. Specify each creditor,              Unliquidated
      including this creditor and its relative     Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $379,426.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       First Bank NJ
       2465 Kuser Rd.                                                                                    Line   2.1
       Trenton, NJ 08690




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        Evesham Mortgage, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)           23-18880
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $300,000.00          $300,000.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19114                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          Various tax years                                    Taxes, penalties
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $7,000.00
          Acquavella, Chiarelli & Shuster, LLP                                   Contingent
          517 US-1                                                               Unliquidated
          Suite 3102                                                             Disputed
          Iselin, NJ 08830
                                                                             Basis for the claim: Professional services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?           No   Yes


3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $106,000.00
          American Express                                                       Contingent
          PO Box 1270                                                            Unliquidated
          Newark, NJ 07101                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Credit card(s)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 4
                                                                                                               42384
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Debtor      Evesham Mortgage, LLC                                                           Case number (if known)            23-18880
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $819.00
         Blend Labs, Inc.                                             Contingent
         415 Kearny St.                                               Unliquidated
         San Francisco, CA 94108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Website services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,653.95
         Equifax                                                      Contingent
         11432 Lackland Rd.                                           Unliquidated
         Saint Louis, MO 63146                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Verification services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,730.00
         First-Citizens Bank & Trust Company                          Contingent
         21146 Network Pl.                                            Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Office equipment lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $47,086.98
         Garofalo O'Neill Ruggierio, LLC                              Contingent
         60 Baldwin Rd.202                                            Unliquidated
         #202                                                         Disputed
         Parsippany, NJ 07054
                                                                   Basis for the claim: Professional services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,539.17
         Horizon Blue Cross Blue Shield                               Contingent
         PO Box 10130                                                 Unliquidated
         Newark, NJ 07101                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $500,000.00
         ICE Mortgage Technology                                      Contingent
         4420 Rosewood Dr.                                            Unliquidated
         Suite 500
                                                                      Disputed
         Pleasanton, CA 94588
                                                                   Basis for the claim: LOS software system
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Landcor Holdings, LP                                         Contingent
         7203 Lincoln Dr.
                                                                      Unliquidated
         Philadelphia, PA 19119
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Litigation claim

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 4
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Debtor       Evesham Mortgage, LLC                                                                  Case number (if known)            23-18880
             Name

3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,285.33
          Principal Life Insurance Co.                                         Contingent
          PO Box 77202                                                         Unliquidated
          Minneapolis, MN 55480                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Insurance
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $298,425.00
          Renaissance Shoppes Urb. Renewal, LLC                                Contingent
          c/o RD Management                                                    Unliquidated
          810 Seventh Ave., 10th Floor                                         Disputed
          New York, NY 10019
                                                                           Basis for the claim: Office lease
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $201,071.00
          Rick Brown                                                           Contingent
          13 Tory Ln.                                                          Unliquidated
          Marlton, NJ 08053                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Commissions owed
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          The Benefit Practice                                                 Contingent
          601 S. Lake Destiny Rd.                                              Unliquidated
          Suite 250                                                            Disputed
          Maitland, FL 32751
                                                                           Basis for the claim: 401(k)
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          U.S. Dept. of Housing                                                Contingent
          451 7th St. SW                                                       Unliquidated
          Washington, DC 20001                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Notice purposes only
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $26,666.40
          Xactus                                                               Contingent
          370 Reed Rd.                                                         Unliquidated
          Suite 100                                                            Disputed
          Broomall, PA 19008
                                                                           Basis for the claim: Post-closing services
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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Debtor      Evesham Mortgage, LLC                                                      Case number (if known)           23-18880
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.1       CIT Bank, N.A.
          1201 Centurion Pwky. N. #100                                                 Line     3.5
          Jacksonville, FL 32256
                                                                                              Not listed. Explain

4.2       David Dahan, Esq.
          Hyland Levin Shapiro                                                         Line     3.9
          6000 Sagemore Dr.
                                                                                              Not listed. Explain
          Suite 6301
          Marlton, NJ 08053

4.3       Jeff Traurig, Esq.
          Traurig Law LLC                                                              Line     3.11
          One University Plaza
                                                                                              Not listed. Explain
          Suite 124
          Hackensack, NJ 07601

4.4       Linda Samost
          230 Cooper Rd.                                                               Line     3.9
          PO Box 368
                                                                                              Not listed. Explain
          West Berlin, NJ 08091


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                    300,000.00
5b. Total claims from Part 2                                                              5b.    +     $                  1,237,276.83

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    1,537,276.83




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 4
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Fill in this information to identify the case:

Debtor name       Evesham Mortgage, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)     23-18880
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Office equipment lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining          33 months
                                                                                    CIT Bank, N.A.
           List the contract number of any                                          1201 Centurion Pwky. N. #100
                 government contract                                                Jacksonville, FL 32256


2.2.       State what the contract or            Encompass mortgage
           lease is for and the nature of        software lease
           the debtor's interest

               State the term remaining          33 months                          ICE Mortgage Technology
                                                                                    4420 Rosewood Dr.
           List the contract number of any                                          Suite 500
                 government contract                                                Pleasanton, CA 94588


2.3.       State what the contract or            Non-residential lease of
           lease is for and the nature of        real property (65 E.
           the debtor's interest                 Route 70, Plaza 70,
                                                 Marlton, NJ, 08053)
               State the term remaining          15 months                          Renaissance Shoppes Urb. Renewal, LLC
                                                                                    c/o RD Management
           List the contract number of any                                          810 Seventh Ave., 10th Floor
                 government contract                                                New York, NY 10019




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Evesham Mortgage, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)   23-18880
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Joseph Cordova              760 W. Mt. Vernon Ave.                                    First Bank NJ                      D   2.1
                                      Haddonfield, NJ 08033                                                                        E/F
                                                                                                                                   G




   2.2    Rick Brown                  13 Tory Ln.                                               First Bank NJ                      D   2.1
                                      Marlton, NJ 08053                                                                            E/F
                                                                                                                                   G




   2.3    Robert Kelley               3 Raleigh Ln.                                             First Bank NJ                      D   2.1
                                      Marlton, NJ 08053                                                                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Evesham Mortgage, LLC

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number (if known)    23-18880
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,007,021.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $5,282,174.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                           $15,862,055.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             First Bank NJ                                         9/25/2023                        $20,000.00                Secured debt
             1395 Yardville-Hamilton Square Rd.                                                                               Unsecured loan repayments
             Trenton, NJ 08691
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.2.
             HUD (NJ)                                              9/25/2023                          $8,278.00               Secured debt
             One Newark Center                                                                                                Unsecured loan repayments
             1085 Raymond Blvd.                                                                                               Suppliers or vendors
             13th Floor                                                                                                       Services
             Newark, NJ 07102-5260
                                                                                                                              Other Federal HUD penalty
                                                                                                                         due


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Rick Brown                                            10/2022 to                       $51,910.77           Wages/commissions/expense
             13 Tory Lane                                          10/2023                                               reimbursements
             Marlton, NJ 08053
             Member

      4.2.   Robert Kelley                                         10/2022 to                       $36,799.82           Wages/commissions/expense
             3 Raleigh Ln.                                         10/2023                                               reimbursements
             Marlton, NJ 08053
             Member

      4.3.   Joseph Cordova                                        10/2022 to                       $30,862.67           Wages/commissions/expense
             760 W. Mt. Vernon Ave.                                10/2023                                               reimbursements
             Haddonfield, NJ 08033
             Member

      4.4.   Michael Favor III                                     10/2022 to                       $82,659.01           Wages/commissions/expense
             1908 Crabtree Ln.                                     10/2023                                               reimbursements
             Belmar, NJ 07719
             Member

      4.5.   William McGoey                                        10/2022 to                       $62,669.17           Wages/commissions/expense
             24 Columbia Dr.                                       10/2023                                               reimbursements
             Marlton, NJ 08053
             Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
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    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
    debt.

          None

      Creditor's name and address                       Description of the action creditor took                         Date action was                Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                 Nature of case              Court or agency's name and                Status of case
             Case number                                                            address
      7.1.   Landcor Holdings, L.P. v.                  Breach of                   Superior Court of New                        Pending
             Evesham Mortgage, LLC, et                  contract, complex           Jersey                                       On appeal
             al.                                        commercial                  Law Division - Civil Part
                                                                                                                                 Concluded
             BUR-L-001619-20                                                        49 Rancocas Rd.
                                                                                    Mount Holly, NJ 08060


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address               Description of the gifts or contributions                 Dates given                            Value

      9.1.   Evesham Twp. Police Dept.                  Fallen Heroes Softball Tournament
             984 Tuckerton Rd.
             Marlton, NJ 08053                                                                                    2022, 2023                        $4,000.00

             Recipients relationship to debtor



      9.2.   Golf 4 Wishes                              Make-a-Wish NJ Golf Tournament
             2 Jasper Johns Way
             Marlton, NJ 08053                                                                                    2022, 2023                        $2,400.00

             Recipients relationship to debtor



      9.3.   Cherokee High School                       Golf Outings for Atheltics Fundraising
             120 Tomlinson Mill Rd.                     (Baseball, Football)
             Marlton, NJ 08053                                                                                    2022, 2023                        $2,750.00

             Recipients relationship to debtor




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              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.4.    Rothamel & Associates                   Animal Orphanage Golf Outing
              18 Kings Highway W.
              Haddonfield, NJ 08033                                                                             2022                           $2,500.00

              Recipients relationship to debtor



      9.5.    Evesham Township (NJ) -                 Athletic Fields Sponsorship / Signage
              Rec./Open Space
              984 Tuckerton Rd.
              Marlton, NJ 08053                                                                                 2022                           $2,000.00

              Recipients relationship to debtor




Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                       value
               Address
      11.1.    Archer & Greiner, P.C.
               1025 Laurel Oak Road
               Voorhees, NJ 08043                                                                                     9/6/2023                $35,000.00

               Email or website address
               http://www.archerlaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                           Describe any property transferred                    Dates transfers              Total amount or
                                                                                                             were made                             value

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13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     952 Route 9
                Bayville, NJ 08721

      14.2.     437 Pennsylvania Ave.
                Fort Washington, PA 19034

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                  All standard mortgage-related information (e.g., income, assets,
                  liabilities, credit history, DOB, SSN)
                  Does the debtor have a privacy policy about that information?
                    No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    TransAmerica                                                                        EIN: XX-XXXXXXX

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                    Has the plan been terminated?
                      No
                      Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Public Storage                                         Various                               Files older than 10 years old                  No
      51 NJ-70                                                                                                                                    Yes
      Marlton, NJ 08053



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Acquavella, Chiarelli & Shuster, LLP                                                                              2017 to 2023
                    517 US-1
                    Suite 3102
                    Iselin, NJ 08830
      26a.2.        Marcum LLP                                                                                                        2008 to 2023
                    601 Rte. 73 N.
                    Suite 400
                    Marlton, NJ 08053

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None




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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Acquavella, Chiarelli & Shuster, LLP                                                                            2017 to 2023
                    517 US-1
                    Suite 3102
                    Iselin, NJ 08830

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Aquavella, Chiarelli, & Shuster, LLP
                    517 US-1
                    Suite 3102
                    Iselin, NJ 08830
      26c.2.        Marcum LLP
                    601 Route 73 N.
                    Suite 400
                    Marlton, NJ 08053

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Acquavella, Chiarelli & Shuster, LLP
                    517 US-1
                    Suite 3102
                    Iselin, NJ 08830
      26d.2.        Amerihome
                    17885 Von Karman Ave.
                    Suite 100
                    Irvine, CA 92614
      26d.3.        Arc Home
                    3001 Leadenhall Rd.
                    Suite 301
                    Mount Laurel, NJ 08054
      26d.4.        Citibank
                    250 Broadway Hall
                    New York, NY 10038
      26d.5.        Flagstar Bank
                    5151 Corporate Dr.
                    Troy, MI 48098
      26d.6.        HUD
                    451 7th St. SW
                    Washington, DC 20410
      26d.7.        Lakeview/Bayview
                    507 Prudential Rd.
                    Horsham, PA 19044
      26d.8.        Marcum LLP
                    601 Rte. 73 N.
                    Suite 400
                    Mount Laurel, NJ 08054

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Debtor      Evesham Mortgage, LLC                                                              Case number (if known) 23-18880



      Name and address
      26d.9.        MCT Trading
                    350 Tenth Ave.
                    Suite 850
                    San Diego, CA 92101
      26d.10.       Merchants Bank of Indiana
                    2000 Midlantic Dr.
                    Suite 405
                    Mount Laurel, NJ 08054
      26d.11.       Newrez
                    1100 Virignia Dr.
                    Suite 125
                    Fort Washington, PA 19034
      26d.12.       NJHMFA
                    637 S. Clinton Ave.
                    Trenton, NJ 08611
      26d.13.       Plaza Home Mortgage
                    9808 Scranton Rd.
                    Suite 3000
                    San Diego, CA 92121
      26d.14.       Penny Mac
                    3043 Townsgate Rd.
                    Suite 300
                    Westlake Village, CA 91361
      26d.15.       Stanton Insurance Group
                    60 Haddonfield-Berlin Rd.
                    Cherry Hill, NJ 08034
      26d.16.       VA National Capital
                    1722 I St. NW
                    Washington, DC 20421
      26d.17.       Village Capital
                    2550 Paseo Verde Pkwy.
                    Suite 100
                    Henderson, NV 89074

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Rick Brown                             13 Tory Ln.                                         Member (Managing)                     54
                                             Marlton, NJ 08053

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Robert Kelley                          3 Raleigh Ln.                                       Member                                25
                                             Marlton, NJ 08053


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Debtor      Evesham Mortgage, LLC                                                              Case number (if known) 23-18880



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Joseph Cordova                         760 W. Mt. Vernon Ave.                              Member                                  10
                                             Haddonfield, NJ 08033

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Michael Favor III                      1908 Crabtree Ln.                                   Member                                  3
                                             Belmar, NJ 07719

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      William McGoey                         24 Columbia Dr.                                     Member                                  3
                                             Marlton, NJ 08053



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 3, 2023

/s/ Richard Brown                                               Richard Brown
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager / Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                        United States Bankruptcy Court
                                                                     District of New Jersey
 In re       Evesham Mortgage, LLC                                                                            Case No.      23-18880
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 35,000.00
             Prior to the filing of this statement I have received                                        $                 35,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     November 3, 2023                                                         /s/ Douglas G. Leney
     Date                                                                     Douglas G. Leney
                                                                              Signature of Attorney
                                                                              Archer & Greiner, P.C.
                                                                              Three Logan Square
                                                                              1717 Arch Street, Suite 3500
                                                                              Philadelphia, PA 19103
                                                                              215-246-3151 Fax: 215-963-9999
                                                                              dleney@archerlaw.com
                                                                              Name of law firm
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                                              United States Bankruptcy Court
                                                        District of New Jersey
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                                  VERIFICATION OF CREDITOR MATRIX


I, the Manager / Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




Date:     November 3, 2023                              /s/ Richard Brown
                                                        Richard Brown/Manager / Chief Executive Officer
                                                        Signer/Title
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        x




American Express
PO Box 1270
Newark, NJ 07101


Blend Labs, Inc.
415 Kearny St.
San Francisco, CA 94108


CIT Bank, N.A.
1201 Centurion Pwky. N. #100
Jacksonville, FL 32256


David Dahan, Esq.
Hyland Levin Shapiro
6000 Sagemore Dr.
Suite 6301
Marlton, NJ 08053


Equifax
11432 Lackland Rd.
Saint Louis, MO 63146


First Bank NJ
1395 Yardville-Hamilton Square Rd.
Trenton, NJ 08691


First Bank NJ
2465 Kuser Rd.
Trenton, NJ 08690


First-Citizens Bank & Trust Company
21146 Network Pl.
Chicago, IL 60673


Garofalo O'Neill Ruggierio, LLC
60 Baldwin Rd.202
#202
Parsippany, NJ 07054


Horizon Blue Cross Blue Shield
PO Box 10130
Newark, NJ 07101


ICE Mortgage Technology
4420 Rosewood Dr.
Suite 500
Pleasanton, CA 94588
            CaseService
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Philadelphia, PA 19114


Jeff Traurig, Esq.
Traurig Law LLC
One University Plaza
Suite 124
Hackensack, NJ 07601


Joseph Cordova
760 W. Mt. Vernon Ave.
Haddonfield, NJ 08033


Landcor Holdings, LP
7203 Lincoln Dr.
Philadelphia, PA 19119


Linda Samost
230 Cooper Rd.
PO Box 368
West Berlin, NJ 08091


Navitas Credit Corp.
203 Fort Wade Road
Suite 300
Ponte Vedra, FL 32081


Principal Life Insurance Co.
PO Box 77202
Minneapolis, MN 55480


Renaissance Shoppes Urb. Renewal, LLC
c/o RD Management
810 Seventh Ave., 10th Floor
New York, NY 10019


Rick Brown
13 Tory Ln.
Marlton, NJ 08053


Robert Kelley
3 Raleigh Ln.
Marlton, NJ 08053


The Benefit Practice
601 S. Lake Destiny Rd.
Suite 250
Maitland, FL 32751
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Xactus
370 Reed Rd.
Suite 100
Broomall, PA 19008
